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                        UNITED STATES DISTRICT COURT
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                       EASTERN DISTRICT OF CALIFORNIA
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     BRIAN K. BREWER and SUZANNE L.
12   BREWER,
                                           No. 2:08-CV-01211-FCD-DAD
13             Plaintiffs,
14        v.                               MEMORANDUM AND ORDER
15   INDYMAC BANK, RESIDENTIAL
     MORTGAGE CAPITAL, JAMES
16   CHAPMAN,
17             Defendants.
18
19                               ----oo0oo----
20        On August 29, 2008, plaintiffs Brian K. Brewer and Suzanne
21   L. Brewer (collectively “plaintiffs”) filed their first amended
22   complaint (“FAC”) for damages and injunctive relief against
23   defendants Indymac Bank (“Indymac”), Residential Mortgage Capital
24   (“RMC”), and James Chapman (“Chapman”).      This matter is before
25   the court on defendants RMC and Chapman’s (collectively
26   “defendants”) motions to dismiss plaintiffs’ FAC for failure to
27   state a claim pursuant to Federal Rule of Civil Procedure
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 1   12(b)(6)1 and for failure to join a necessary party pursuant to
 2   Rule 12(b)(7) and Rule 19.    Plaintiffs oppose the motions.       For
 3   the reasons set forth below, defendants’ motion to dismiss is
 4   GRANTED in part and DENIED in part.2       In the alternative,
 5   defendants file a motion for a more definite statement pursuant
 6   to Rule 12(e) and a motion to strike pursuant to Rule 12(f).            For
 7   the reasons set forth below, defendants’ motion for a more
 8   definite statement and motion to strike are DENIED.
 9                                 BACKGROUND
10        This is a mortgage fraud action in which plaintiffs allege
11   that Indymac, RMC, and Chapman failed to disclose the material
12   terms of plaintiffs’ loans, unlawfully obtained higher loan
13   origination fees from plaintiffs, and transferred plaintiffs’
14   loans through a sham transaction through which RMC unlawfully
15   made a “secret profit.”    (First Am. Compl. (“FAC”), filed Aug.
16   29, 2008, ¶¶ 34-39.)    Plaintiffs allege that on or about May 17,
17   2005, plaintiffs entered into a consumer credit transaction with
18   RMC whereby plaintiffs obtained two loans for the financing of
19   residential property.    (FAC ¶ 14.)    Plaintiffs allege that upon
20   consummation of the loans, RMC was required to provide plaintiffs
21   with certain financial disclosures, specifically the “amount
22   financed,” the “finance charges,” and notice of an optional
23   three-day rescission period, pursuant to the Truth in Lending
24   Act, 15 U.S.C. § 1601, et seq. (“TILA”).       (Id. ¶¶ 15-18).
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26        1
               All further references to a “Rule” are to the Federal
     Rules of Civil Procedure.
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          2
               The court does not address the sufficiency of
28   plaintiffs’ claims against defendant Indymac.

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 1   Plaintiffs allege, however, that RMC inaccurately reported the
 2   amount financed, collected finance charges that were not
 3   disclosed to plaintiffs, and failed to provide plaintiffs with
 4   dated copies of their notice of right to rescind the loans, all
 5   in violation of TILA.      (Id. ¶¶ 29-30, 33-36).
 6           Plaintiffs further allege that RMC devised a scheme with
 7   Indymac whereby RMC transferred plaintiffs’ loans to Indymac and
 8   received a “secret profit” in direct contravention of federal law
 9   and fiduciary duties owed to plaintiffs.      (Id. ¶¶ 36-40.)
10   According to plaintiffs, RMC acted as plaintiffs’ mortgage broker
11   and thus owed plaintiffs a fiduciary duty.       (Id. ¶¶ 37-40).
12   Plaintiffs allege that in securing plaintiffs’ loans, RMC and
13   Indymac engaged in a “table funded” transaction3 designed to
14   circumvent the Federal Real Estate Settlement Procedures Act, 12
15   U.S.C. § 2601, et seq. (“RESPA”). (Id. ¶ 38.)       Plaintiffs further
16   allege that although the loans were table funded by RMC, RMC
17   attempted to secure “holder in due course” status by disguising
18   the table funded transaction as a secondary market transaction.
19   (Id.)       Through this course of conduct, defendants purposefully
20   attempted to thwart the provisions of RESPA designed to protect
21   debtor consumers.      (Id.)   Plaintiffs allege that as payment for
22   securing plaintiffs’ loans and in direct violation of RESPA, RMC
23   received a secret profit from Indymac that RMC failed to disclose
24   /////
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26           3
               “Table funding means a settlement at which a loan is
     funded by a contemporaneous advance of loan funds and an
27   assignment of the loan to the person advancing the funds. A
     table funded transaction is not a secondary market transaction.”
28   24 C.F.R. § 3500.2 (2009) (emphasis in original).

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 1   to plaintiffs, despite RMC’s fiduciary duty to do so.          (Id. ¶¶
 2   36-37.)
 3         Additionally, plaintiffs allege that they contacted Indymac
 4   regarding their right to rescind the loan agreements, yet Indymac
 5   did not comply with the provisions of TILA permitting plaintiffs
 6   to rescind the loans.      (Id. ¶¶ 24-28.)     By letter dated April 13,
 7   2008, plaintiffs notified Indymac that they were provided with a
 8   deficient notice of right to rescind by RMC.           (Id. ¶ 24.)   At
 9   this time, plaintiffs informed Indymac that they preferred to
10   settle the matter with Indymac rather than rescind the loans.
11   (Id.)     Plaintiffs did not hear back from Indymac, and on May 7,
12   2008, plaintiffs, through counsel, notified Indymac that due to
13   the defect in the notice of right to rescind provided by RMC,
14   plaintiffs were electing to rescind the loans.          (Id. ¶ 25.)       As
15   required by TILA, plaintiffs tendered the real property to
16   Indymac, but Indymac only responded with a “rescission
17   implementation agreement” as to the first loan, and failed to
18   rescind the second loan.      (Id. ¶¶ 25-28.)     Although the
19   rescission implementation agreement provides that Indymac is the
20   lender, plaintiffs instead assert that an unascertainable third
21   party currently holds the loans.         (Id. ¶ 28.)
22         Due to the foregoing, plaintiffs allege that they are
23   entitled to rescind the loan agreements and obtain damages for
24   defendants’ unlawful and inequitable conduct.
25                                   STANDARDS
26   I.    Motion to Dismiss for Failure to State a Claim
27         On a motion to dismiss, the allegations of the complaint
28   must be accepted as true.      Cruz v. Beto, 405 U.S. 319, 322

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 1   (1972).   The court is bound to give plaintiff the benefit of
 2   every reasonable inference to be drawn from the “well-pleaded”
 3   allegations of the complaint.     Retail Clerks Int’l Ass’n v.
 4   Schermerhorn, 373 U.S. 746, 753 n.6 (1963).       Thus, the plaintiff
 5   need not necessarily plead a particular fact if that fact is a
 6   reasonable inference from facts properly alleged.        See id.
 7        Nevertheless, it is inappropriate to assume that the
 8   plaintiff “can prove facts which it has not alleged or that the
 9   defendants have violated the . . . laws in ways that have not
10   been alleged.”   Associated Gen. Contractors of Cal., Inc. v. Cal.
11   State Council of Carpenters, 459 U.S. 519, 526 (1983).         Moreover,
12   the court “need not assume the truth of legal conclusions cast in
13   the form of factual allegations.”      United States ex rel. Chunie
14   v. Ringrose, 788 F.2d 638, 643 n.2 (9th Cir. 1986).
15        Ultimately, the court may not dismiss a complaint in which
16   the plaintiff has alleged “enough facts to state a claim to
17   relief that is plausible on its face.”      Bell Atlantic Corp. v.
18   Twombly, 127 S.Ct. 1955, 1974 (2007).      Only where a plaintiff has
19   not “nudged [his or her] claims across the line from conceivable
20   to plausible,” is the complaint properly dismissed.        Id.     “[A]
21   court may dismiss a complaint only if it is clear that no relief
22   could be granted under any set of facts that could be proved
23   consistent with the allegations.”      Swierkiewicz v. Sorema N.A.,
24   534 U.S. 506, 514 (2002) (quoting Hudson v. King & Spalding, 467
25   U.S. 69, 73 (1984)).
26        In ruling upon a motion to dismiss, the court may consider
27   only the complaint, any exhibits thereto, and matters which may
28   be judicially noticed pursuant to Federal Rule of Evidence 201.

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 1   See Mir v. Little Co. Of Mary Hospital, 844 F.2d 646, 649 (9th
 2   Cir. 1988); Isuzu Motors Ltd. v. Consumers Union of United
 3   States, Inc., 12 F. Supp. 2d 1035, 1042 (C.D. Cal. 1998).
 4   II.    Motion to Dismiss for Failure to Join Necessary and
            Indispensable Parties
 5
 6          Rule 12(b)(7) authorizes a motion to dismiss the action for
 7   failure to join a necessary party in accordance with Rule 19.
 8   Rule 12(b)(7) permits a motion to dismiss where there is an
 9   absent person without whom complete relief cannot be granted or
10   whose interest in the dispute is such that to proceed in that
11   person’s absence might prejudice that individual or entity or the
12   parties already before the court.         In re Republic of Philippines,
13   309 F.3d 1143, 1152 (9th Cir. 2002).         The analysis under Rule 19
14   generally proceeds in two steps: 1) the court asks whether a
15   party is necessary to the suit; and 2) if so, and that party
16   cannot be joined, the court must assess whether the party is
17   “indispensable” so that “in equity and good conscience” the suit
18   should be dismissed.      Shermoen v. U.S., 982 F.2d 1312, 1317 (9th
19   Cir. 1992).     “In determining whether a party is ‘necessary’ under
20   Rule 19(a), the court must consider whether ‘complete relief’ can
21   be accorded among the existing parties, and whether the absent
22   party has a ‘legally protected interest’ in the subject of the
23   suit.”    Id. (quoting Rule 19(a)).       The inquiry is fact specific,
24   and the moving party “has the burden of persuasion in arguing for
25   dismissal.”     Id.
26   III. Motion for a More Definite Statement
27          A motion for a more definite statement should not be granted
28   unless a pleading is “so vague or ambiguous that a party cannot

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 1   reasonably be required to frame a responsive pleading.”            Rule
 2   12(e).    This liberal standard is consistent with Rule 8(a)(2)
 3   which allows pleadings that contain a “short and plain statement
 4   of the claim.”     The Federal Rules of Civil Procedure anticipate
 5   that the parties will familiarize themselves with the claims and
 6   ultimate facts through the discovery process.          See Famolare, Inc.
 7   v. Edison Brothers Stores, Inc., 525 F. Supp. 940, 949 (E.D. Cal.
 8   1981).    Indeed, “where the information sought by the moving party
 9   is available and/or properly sought through discovery, the motion
10   should be denied.”      Id.
11   IV.     Motion to Strike
12           Rule 12(f) enables the court by motion by a party or by its
13   own initiative to “order stricken from any pleading . . . any
14   redundant, immaterial, impertinent, or scandalous matter.”            The
15   function of a 12(f) motion is to avoid the time and expense of
16   litigating spurious issues.       Fantasy, Inc. v. Fogerty, 984 F.2d
17   1524, 1527 (9th Cir. 1993), rev’d on other grounds, 510 U.S. 517
18   (1994); see also 5A Charles A. Wright & Arthur R. Miller, Federal
19   Practice and Procedure § 1380 (2d ed. 1990).
20           Rule 12(f) motions are generally viewed with disfavor and
21   not ordinarily granted because they are often used to delay and
22   because of the limited importance of the pleadings in federal
23   practice.     Bureerong v. Uvawas, 922 F. Supp. 1450, 1478 (C.D.
24   Cal. 1996).     A motion to strike should not be granted unless it
25   is absolutely clear that the matter to be stricken could have no
26   possible bearing on the litigation.         Lilley v. Charren, 936 F.
27   Supp. 708, 713 (N.D. Cal. 1996).
28   /////

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 1                                    ANALYSIS
 2   I.    Motion to Dismiss
 3         Defendants seek to dismiss all claims alleged by plaintiffs
 4   against RMC and Chapman.      Specifically, plaintiffs’ Second,
 5   Fifth, Sixth, Seventh, Tenth, Eleventh, Twelfth, and Thirteenth
 6   Claims for Relief.
 7         A.   Plaintiffs’ Second Claim for Relief
 8         Plaintiffs’ Second Claim for Relief alleges that defendants
 9   violated TILA by 1) failing to provide plaintiffs with valid
10   copies of the notice of right to rescind, and 2) inaccurately
11   reporting finance charges, the amount financed, and the annual
12   percentage rate in the required financial disclosures for the
13   first loan agreement.      (FAC ¶¶ 63-64.)    Plaintiffs seek
14   rescission of the loan agreements, actual and statutory damages,
15   and attorney fees.     Defendants move to dismiss plaintiffs’ TILA
16   claim on the basis that it is time barred.
17         The declared purpose of TILA is “to assure a meaningful
18   disclosure of credit terms so that the consumer will be able to
19   compare more readily the various credit terms available to him
20   and avoid the uninformed use of credit, and to protect the
21   consumer against inaccurate and unfair credit billing and credit
22   card practices.”     15 U.S.C. § 1601(a).     Consequently, TILA
23   mandates that creditors provide borrowers with clear and accurate
24   disclosures of borrowers’ rights, finance charges, the amount
25   financed, and the annual percentage rate.         See, e.g., U.S.C. §§
26   1632, 1635, 1638.
27         15 U.S.C. § 1635(a) provides that in the case of a consumer
28   credit transaction in which the creditor acquires a security

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 1   interest in property to be used as the principal residence of the
 2   obligor, the obligor “shall have the right to rescind the
 3   transaction until midnight of the third business day following
 4   the consummation of the transaction or the delivery of the
 5   information or rescission forms.”      An obligor who exercises their
 6   right to rescind “is not liable for any finance or other charge,
 7   and any security interest given by the obligor, including any
 8   such interest arising by operation of law, becomes void upon
 9   rescission.”   Id. at § 1635(b).    However, where the required
10   forms and disclosures have not been delivered to the obligor, 15
11   U.S.C. § 1635(f) provides that “[a]n obligor’s right of
12   rescission shall expire three years after the date of
13   consummation of the transaction or upon the sale of the property,
14   whichever occurs first.”    The expiration of the three year
15   statute of repose deprives a court of subject matter jurisdiction
16   to order rescission.   Miguel v. Country Funding Corp., 309 F.3d
17   1161, 1164 (9th Cir. 2002).
18        To exercise the right to rescind, the obligor must “notify
19   the creditor of the rescission by mail, telegram, or other means
20   of written communication.”    12 C.F.R. § 226.23(a)(2).      Notice is
21   deemed effective “when mailed, when filed for telegraphic
22   transmission or, if sent by other means, when delivered to the
23   creditor’s designated place of business.”       Id.   Within 20 days of
24   receiving notice of rescission, “the creditor shall return to the
25   obligor any money or property given as earnest money,
26   downpayment, or otherwise, and shall take any action necessary or
27   appropriate to reflect the termination of any security interest
28   created under the transaction.”     Id.   The borrower’s right to

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 1   rescind applies equally against the original creditor and
 2   subsequent assignees.       15 U.S.C. § 1641(c).
 3           15 U.S.C. § 1635(g) provides, “In any action in which it is
 4   determined that a creditor has violated this section, in addition
 5   to rescission the court may award relief under section 1640 of
 6   this title for violations of this subchapter not relating to the
 7   right to rescind.”       15 U.S.C. § 1640(a) allows private causes of
 8   action for monetary damages.      However, 15 U.S.C. § 1640(e)
 9   establishes a limitation period on damages claims, providing that
10   “[a]ny action under this section may be brought in any United
11   States district court, or in any other court of competent
12   jurisdiction, within one year from the date of the occurrence of
13   the violation.”       Where a creditor refuses to cancel a loan after
14   receiving timely notice of rescission, the creditor violates
15   TILA.       Miguel, 309 F.3d at 1165.    Pursuant to 15 U.S.C. §
16   1640(e), the obligor has one year from the date of refusal to
17   file suit for damages arising out of the failure to rescind.             Id.
18   Additionally, a creditor violates TILA where they make inaccurate
19   disclosures, and an obligor has one year from each of the
20   lender’s inaccurate disclosures to file suit.        Hubbard v.
21   Fidelity Federal Bank, 91 F.3d 75, 79 (9th Cir. 1996).
22                  1.   Recission4
23           Plaintiffs contend that due to defendants’ TILA violations,
24   they are entitled to 15 U.S.C. § 1635(f)’s extended three-year
25   right of rescission.       Assuming arguendo that plaintiffs are
26
27           4
               It is unclear whether plaintiffs seek rescission from
     defendants through this suit. However, as set forth infra, based
28   upon the facts alleged in the FAC, such a claim is time barred.

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 1   entitled to the three-year statute of limitations, plaintiffs’
 2   right of rescission expired on or about May 17, 2008, three years
 3   from the date of consummation of the loan agreements.
 4        According to 12 C.F.R. § 226.23(a)(2), in order to exercise
 5   the right of rescission the obligor must “notify the creditor of
 6   the rescission by mail, telegram, or other means of written
 7   communication,” and notice is deemed effective when mailed.          See
 8   also Toscano v. Ameriquest Mortg. Co., WL 3125023 (E.D. Cal.
 9   2007) (stating that while the law is not entirely settled, “the
10   consensus is that ‘the filing of a lawsuit can be sufficient
11   written notice of rescission under TILA so long as the complaint
12   seeks rescission’”).    Plaintiffs allegedly provided notice to
13   Indymac of their intention to rescind on May 7, 2008, within
14   three years of the date of loan consummation.        However,
15   plaintiffs filed suit after May 17, 2008, and did not notify RMC
16   or Chapman of their intention to rescind until they filed suit on
17   May 30, 2008.    See Miguel, 309 F.3d at 1164-65 (holding that
18   obligor’s right to rescind expired where obligor did not rescind
19   against the proper party within three years of loan
20   consummation).   Thus, plaintiffs’ claim for rescission as to
21   defendants is time barred.
22              2.    Damages
23        Plaintiffs argue that they should be allotted an additional
24   year in which to file suit for damages after expiration of the
25   three-year period afforded by 15 U.S.C. § 1635(f).        15 U.S.C. §
26   1640(e) permits a borrower to file suit within one year of a
27   creditor’s wrongful refusal to honor a borrower’s right to
28   rescind.   However, as set forth above, plaintiffs do not allege

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 1   that they sought rescission from defendants within the statutory
 2   period, and thus plaintiffs cannot claim that defendants
 3   unjustifiably failed to cancel their loans.       See Miguel, 309 F.3d
 4   at 1165 (holding that creditor could not be held liable for
 5   failing to cancel obligor’s loan under 15 U.S.C. § 1640(e) where
 6   rescission was not effected during the three-year statutory
 7   period).     While plaintiffs allege that Indymac received notice of
 8   rescission within the three-year statutory period and refused to
 9   cancel plaintiffs’ second loan, plaintiffs have not cited any
10   authority for the principle that notice to an assignee should
11   suffice for notice to the original creditor.
12           With respect to their claims for inaccurate disclosures,
13   plaintiffs argue that Indymac’s failure to cancel plaintiffs’
14   loans extends the statute of limitations for all alleged TILA
15   violations.5     However, the Ninth Circuit has held that inaccurate
16   disclosures are deemed to occur at the date of consummation of
17   the loan, and thus the statutory period “runs from the date of
18   consummation of the transaction.”       King v. California, 784 F.2d
19   910, 915.     Accepting plaintiffs’ allegations regarding
20   defendants’ inaccurate disclosures as true, plaintiffs had one
21   year to bring a damages claim under 15 U.S.C. § 1640(e) for the
22   alleged disclosures.     See 15 U.S.C. § 1640(e); Hubbard, 91 F.3d
23   at 79.      Plaintiffs executed the loan agreements on or about May
24   17, 2005, and filed this suit on May 30, 2008.        The one-year time
25   limitation on plaintiffs’ damages claim for inaccurate
26   /////
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             5
               Plaintiffs fail to provide any authority to support
28   this proposition.

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 1   disclosures expired on May 17, 2006, well before the filing of
 2   plaintiffs’ complaint.
 3        Accordingly, defendants’ motion to dismiss plaintiffs’
 4   Second Claim for Relief is GRANTED.      However, leave to amend
 5   should be granted “unless the court determines that the
 6   allegation of other facts consistent with the challenged pleading
 7   could not possibly cure the deficiency.”       Schreiber Distrib. Co.
 8   v. Serv-Well Furniture Co., 806 F.2d 1393, 1401 (9th Cir. 1986).
 9   To the extent plaintiffs can allege sufficient facts regarding
10   timely notice to defendants of their intention to rescind,
11   plaintiffs are granted leave to amend.
12        B.    Plaintiffs’ Fifth Claim for Relief
13        Plaintiffs’ Fifth Claim for Relief alleges that defendants
14   violated RESPA by receiving undisclosed fees or kickbacks from
15   Indymac pursuant to an agreement through which defendants
16   fraudulently transferred plaintiffs’ loans to Indymac.
17   Defendants seek to dismiss plaintiffs’ RESPA claim for relief on
18   the basis that defendants validly conveyed plaintiffs’ loans to
19   Indymac through means of a secondary market transaction, such
20   that RESPA no longer provides protection for plaintiffs’ loans.
21   Moreover, defendants seek to dismiss plaintiffs’ RESPA claim for
22   relief on the basis that the claim for relief is time barred.
23              1.   Conveyance
24        Congress enacted the Real Estate Settlement Procedures Act
25   (“RESPA”) to shield home buyers “from unnecessarily high
26   settlement charges by certain abusive practices.”        12 U.S.C. §
27   2601(a).   12 U.S.C. § 2607(a) provides, “No person shall give and
28   no person shall accept any fee, kickback, or thing of value

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 1   pursuant to any agreement or understanding, oral or otherwise,
 2   that business incident to or a part of a real estate settlement
 3   service involving a federally related mortgage loan shall be
 4   referred to any person.”    12 U.S.C. § 2607(b) further provides,
 5   “No person shall give and no person shall accept any portion,
 6   split, or percentage of any charge made or received for the
 7   rendering of a real estate settlement service in connection with
 8   a transaction involving a federally related mortgage loan other
 9   than for services actually performed.”
10        12 U.S.C. § 2607(c)(2) provides a safe harbor, however,
11   stating in relevant part that “[n]othing in this section shall be
12   construed as prohibiting . . . (2) the payment to any person of a
13   bona fide salary or compensation or other payment for goods or
14   facilities actually furnished or for services actually
15   performed.”   Further, bona fide secondary market transactions, in
16   which closed loans are purchased by investors, are exempt from
17   RESPA.   24 C.F.R. § 3500.5(b)(7).      However, “table-funded”
18   transactions are not considered secondary market transactions.
19   24 C.F.R. § 3500.2; 24 C.F.R. § 3500.5(b)(7).        “Table funding” is
20   defined as “a settlement at which a loan is funded by a
21   contemporaneous advance of loan funds and an assignment of the
22   loan to the person advancing the funds.”       24 C.F.R. § 3500.2.
23   “In determining what constitutes a bona fide transfer, HUD will
24   consider the real source of funding and the real interest of the
25   funding lender . . . [T]he first assignment of such loan or
26   contract to a lender” is not a secondary market transaction.             24
27   C.F.R. § 3500.5(b)(7).
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 1        Compensation in the form of yield spread premiums6 (“YSP”)
 2   is not per se illegal or legal.      Geraci v. Homestreet Bank, 347
 3   F.3d 749, 751 (9th Cir. 2003); see also Department of Housing and
 4   Urban Development (“HUD”) 2001-1 Policy Statement, 66 Fed. Reg.
 5   at 53054.   However, “HUD currently requires the disclosure of
 6   yield spread premiums” because “borrowers should be afforded a
 7   meaningful opportunity to select the most appropriate product and
 8   determine what price they are willing to pay for the loan.”          66
 9   Fed. Reg. at 53056.
10        Construing the complaint liberally, plaintiffs have
11   sufficiently alleged that defendants and Indymac entered into a
12   table-funded transaction through which defendants, in violation
13   of RESPA, unlawfully acquired fees or kickbacks which were not
14   disclosed to plaintiffs.    Plaintiffs allege that the quick
15   transfer of plaintiffs’ loans to Indymac is evidence that the
16   loans were table funded by a contemporaneous advance of loan
17   funds from Indymac, and that Indymac served as the real source of
18   funding for the loans.    Thus, the protections of RESPA apply to
19   plaintiffs’ loans.    See 24 C.F.R. § 3500.2; 24 C.F.R. §
20
          6
               “A yield spread premium, or ‘YSP,’ is a lump sum paid
21   by a lender to a broker at closing when the loan originated by
     the broker bears an above-par interest rate.” Schuetz v. Banc
22   One Mortgage, 292 F.3d 1004, 1007 (9th Cir. 2002). Lenders
     frequently quote par interest rates to brokers several times per
23   day, and where the broker acquires a loan with an above-par rate
     for a borrower, the broker usually receives the YSP, or the
24   “difference between the rate reflected in the rate quote and the
     rate of the loan entered into by the borrower,” as compensation
25   from the lender, although the cost is “ultimately paid by the
     consumer.” Id. In some cases, “less scrupulous brokers and
26   lenders use yield spread premiums as a way to enhance the
     profitability of mortgage transactions without offering the
27   borrower lower up front fees.” Department of Housing and Urban
     Development (“HUD”) 2001-1 Policy Statement, 66 Fed. Reg. 53052,
28   53054 (Oct. 18, 2001).

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 1   3500.5(b)(7).     Likewise, plaintiffs have sufficiently alleged
 2   that defendants received illegal kickbacks or fees from Indymac,
 3   such that defendants violated RESPA.       12 U.S.C. § 2607(a)-(b).
 4           Defendants assert that they did not act as plaintiffs’
 5   mortgage broker, such that they did not owe plaintiffs a duty of
 6   disclosure regarding any fees acquired from Indymac.         However, on
 7   a motion to dismiss, plaintiffs’ allegations must be accepted as
 8   true.    Although the HUD-1 Settlement Statement provides that a
 9   loan origination fee was paid to Dan Brown Mortgage, who
10   defendants contend was plaintiffs’ mortgage broker, plaintiffs
11   allege that defendants were also acting as plaintiffs’ mortgage
12   broker in originating the loans and failed to disclose the YSP in
13   violation of RESPA’s disclosure requirements.        See 24 C.F.R. §
14   3500, App. A, § L.
15                2.   Statute of Limitations
16           The statute of limitations for bringing an action for
17   violation of 12 U.S.C. § 2607 is one year.       12 U.S.C. § 2614.
18   The doctrine of equitable tolling “focuses on excusable delay by
19   the plaintiff,” Johnson v. Henderson, 314 F.3d 409, 414 (9th Cir.
20   2002), and centers upon whether “a reasonable plaintiff would . .
21   . have known of the possible existence of a possible claim within
22   the limitations period.”    Santa Maria, 202 F.3d at 1178.       Where
23   equitable tolling is at issue, it is rarely appropriate to grant
24   a Rule 12(b)(6) motion to dismiss.      Huynh v. Chase Manhattan
25   Bank, 465 F.3d 992, 1003-04 (9th Cir. 2006).
26           The Ninth Circuit has not decided whether the doctrine of
27   equitable tolling may, in appropriate circumstances, suspend the
28   limitations period until the borrower discovers or had reasonable

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 1   opportunity to discover the violations that form the basis of
 2   plaintiffs’ RESPA action.7    However, absent a clear indication to
 3   the contrary, equitable tolling should be read into every federal
 4   statute.   See Holmberg v. Armbrecht, 327 U.S. 396-97 (1946); see
 5   also Lawyers Title Ins. Corporation v. Dearborn Title Corp., 118
 6   F.3d 1157, 1166-67 (7th Cir. 1997) (holding that RESPA actions
 7   are subject to equitable tolling because only in the rarest
 8   circumstances are statutes considered jurisdictional) (citing
 9   King, 784 F.2d at 914-15); but see Hardin v. City Title & Escrow
10   Co., 797 F.2d 1037, 1040-41 (D.C. Cir. 1986) (holding that RESPA
11   actions are not subject to equitable tolling because the statute
12   of limitation, found in the same section that confers
13   jurisdiction on the federal courts, is jurisdictional).
14        Similar to RESPA’s statute of limitation, 12 U.S.C. § 2614,
15   TILA’s statute of limitation, 15 U.S.C. § 1640(e), confers
16   jurisdiction upon the district court and imposes a one-year
17   limitation for bringing damages actions.       The Ninth Circuit has
18   held that despite its jurisdictional tone, TILA violations are
19   subject to equitable tolling because “an inflexible rule that
20   bars suit one year after consummation is inconsistent with
21   legislative intent.”    King, 784 F.2d at 914.      In light of King’s
22   interpretation of a nearly identical statute, the court concludes
23
          7
               Two district courts in the Ninth Circuit have held that
24   equitable tolling is available with respect to RESPA actions.
     Kay v. Wells Fargo & Co., N.A., 2007 U.S. Dist. WL 2141292 (N.D.
25   Cal. July 24, 2007); Blaylock v. First Am. Title Ins. Co., 504 F.
     Supp. 2d 1091, 1106 (W.D. Wash. 2007). Meanwhile, two other
26   courts in the Ninth Circuit declined to reach the question of
     whether equitable tolling is available with respect to RESPA
27   actions. See Bloom v. Martin, 865 F. Supp. 1377, 1386-87 (N.D.
     Cal. 1994); Marcelos v. Dominguez, 2008 WL 1820683 (N.D. Cal.
28   2008)).

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 1   that “equitable tolling may, in appropriate circumstances,
 2   suspend the limitations period until the borrower discovers or
 3   has reasonable opportunity to discover the fraud or
 4   nondisclosures that form the basis of the” RESPA action.          Id. at
 5   915; see also Blaylock, 504 F. Supp. 2d 1091.
 6        Plaintiffs allege that upon consummation of the loans,
 7   defendants immediately transferred the loans to Indymac through a
 8   fraudulent conveyance.    Plaintiffs executed the loans on or about
 9   May 17, 2005, and filed this suit on May 30, 2008.        Since
10   plaintiffs’ loans were allegedly transferred to Indymac
11   approximately three years before the complaint was filed, the
12   one-year limitation for bringing an action for defendants’
13   alleged RESPA violations has elapsed.      However, plaintiffs’
14   contend that the doctrine of equitable tolling should extend
15   their right to file suit because defendants and Indymac allegedly
16   entered into their fraudulent transaction in such a manner that
17   plaintiffs could not ascertain the nature of the transaction at
18   the time it occurred.
19        Defendants assert that the statute of limitations should not
20   be equitably tolled because defendants took no action to mislead
21   plaintiffs and did not deprive plaintiffs of any legal rights.
22   However, defendants confuse equitable tolling with equitable
23   estoppel, which requires a showing of wrongful conduct on the
24   part of the defendant.    Santa Maria, 202 F.3d at 1178.       “Instead
25   [equitable tolling] focuses on whether there was an excusable
26   delay by the plaintiff.”    Id.   Plaintiffs’ allege that they
27   delayed in filing suit for defendants’ RESPA violations because
28   defendants allegedly concealed the details of the fraudulent

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 1   transfer and the accompanying secret profit which gave rise to
 2   the RESPA claim.    As such, plaintiffs’ delay in filing suit may
 3   be excusable.   Construing plaintiffs’ complaint liberally and in
 4   the light most favorable to plaintiffs, plaintiffs’ have alleged
 5   sufficient facts to raise an issue as to whether the one-year
 6   statute of limitation contained in 12 U.S.C. § 2614 should be
 7   equitably tolled.
 8        Accordingly, defendants’ motion to dismiss plaintiffs’ Fifth
 9   Claim for Relief is DENIED.
10        C.   Sixth Claim for Relief
11        In their Sixth Claim for Relief, plaintiffs allege that
12   defendants, as mortgage brokers, owed plaintiffs a fiduciary
13   duty, which defendants breached by (1) obtaining a mortgage loan
14   with unfavorable terms, (2) not disclosing the consequences of
15   the loan, (3) obtaining a “secret profit,” and (4) not properly
16   complying with TILA and RESPA.     Due to this alleged breach,
17   plaintiffs seek actual and punitive damages.        Defendants seek to
18   dismiss plaintiffs’ Sixth Claim for Relief on the basis that
19   defendants at no time served as plaintiffs’ mortgage broker, and
20   thus did not owe plaintiffs a fiduciary duty.
21        “The elements of a cause of action for breach of fiduciary
22   duty are: 1) the existence of a fiduciary duty; 2) a breach of
23   the fiduciary duty; and 3) resulting damage.”        Pellegrini v.
24   Weiss, 165 Cal. App. 4th 515, 524 (2008).       A mortgage broker owes
25   a fiduciary duty to their client.       See Cal. Civ. Code § 2079.24;
26   Zimmer v. Nawabi, 566 F. Supp. 2d 1025 (E.D. Cal. 2008).         Under
27   California law, a mortgage broker acts in a fiduciary capacity
28   that “not only imposes upon him the duty of acting in the highest

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 1   good faith toward his principal but also precludes the agent from
 2   obtaining any advantage over the principal in any transaction had
 3   by virtue of his agency.”     Wyatt v. Union Mortgage Co., 24 Cal.
 4   3d 773, 782 (1979) (citing Batson v. Strehlow, 68 Cal. 2d 662,
 5   674-75 (1968)).    This duty obligates brokers to “make a full and
 6   accurate disclosure of the terms of a loan to borrowers and to
 7   act always in the utmost good faith toward their principals.”
 8   Wyatt, 24 Cal. 3d at 782 (citing Ratray v. Scudder, 28 Cal. 2d
 9   214, 223 (1946)).   Accordingly, a broker is liable to his
10   principal for secret profits.     Roberts v. Lomanto, 112 Cal. App.
11   4th 1553 (2003).
12        With respect to punitive damages awarded for breach of
13   fiduciary duty, Cal. Civ. Code § 3294 provides, in relevant part:
14        In an action for the breach of an obligation not
          arising from contract, where it is proven by clear and
15        convincing evidence that the defendant has been guilty
          of oppression, fraud, or malice, the plaintiff, in
16        addition to the actual damages, may recover damages for
          the sake of example and by way of punishing the
17        defendant.
18   “[A] breach of a fiduciary duty alone without malice, fraud or
19   oppression does not permit an award of punitive damages.         The
20   wrongdoer must act with the intent to vex, injure, or annoy, or
21   with a conscious disregard of the plaintiff’s rights.”         Lackner
22   v. North, 135 Cal. App. 4th 1188, 1210 (2006).        “[E]ntitlement to
23   punitive damages is generally an issue for the trier of fact.”
24   The Nippon Credit Bank v. 1333 North Cal. Boulevard, 86 Cal. App.
25   4th 486, 501 (2001).
26        Accepting the allegations of the complaint as true,
27   defendants acted as plaintiffs’ mortgage broker and thus owed
28   plaintiffs a fiduciary duty.     Plaintiffs also allege that

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 1   defendants breached their fiduciary duty, and that plaintiffs
 2   suffered harm as a proximate result of defendants’ breach.
 3   Further, plaintiffs allege that by deliberately committing a
 4   breach of their fiduciary duty, defendants acted with malice,
 5   fraud, wantonness, oppression, or conscious indifference to
 6   plaintiffs’ consequences.     Specifically, plaintiffs allege that
 7   defendants, acting as plaintiffs’ mortgage broker, conspired to
 8   charge plaintiffs higher loan origination fees and interest rates
 9   in order to obtain a “secret profit.”      As such, plaintiffs have
10   sufficiently alleged that defendants intentionally and
11   fraudulently breached fiduciary duties owed to plaintiffs.
12           Accordingly, defendants’ motion to dismiss plaintiffs’ Sixth
13   Claim for Relief is DENIED.
14           D.   Seventh and Twelfth Claims for Relief
15           Plaintiffs’ Seventh Claim for Relief alleges that defendants
16   charged plaintiffs a higher interest rate on their loans through
17   which defendants obtained a “secret profit,” and that by failing
18   to disclose this information, defendants engaged in fraud by
19   concealment.    Similarly, plaintiffs’ Twelfth Claim for Relief
20   alleges that defendants, through fraud and deceit, willfully
21   induced plaintiffs to agree to loan terms that were
22   disadvantageous to plaintiffs.     Defendants seek to dismiss
23   plaintiffs’ fraud by concealment claim on the basis that
24   defendants were a lender and thus did not owe plaintiffs a
25   fiduciary duty.    Additionally, defendants seek to dismiss
26   plaintiffs’ fraud and deceit claim on the basis that plaintiffs’
27   allegations are not pled with sufficient particularity.
28   /////

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 1        As a general rule, the complaint need only contain a “short
 2   and plain statement” of the relevant facts.       Rule 8(a).    An
 3   exception exists, however, for claims of fraud and mistake.
 4   Specifically, Rule 9(b) provides, “In alleging fraud or mistake,
 5   a party must state with particularity the circumstances
 6   constituting fraud or mistake.     Malice, intent, knowledge, and
 7   other conditions of a person’s mind may be alleged generally.”
 8   “To avoid dismissal for inadequacy under Rule 9(b), [plaintiff’s]
 9   complaint . . . need[s] to ‘state the time, place, and specific
10   content of the false representations as well as the identities of
11   the parties to the misrepresentation.’”       Edwards v. Marin Park,
12   Inc., 356 F.3d 1058, 1066 (9th Cir. 2006) (quoting Alan Neuman
13   Prods., Inc. v. Albright, 862 F.2d 1388, 1392 (9th Cir. 1989)).
14   “Averments of fraud must be accompanied by “the who, what, when,
15   where, and how’ of the misconduct charged.”       Vess v. Ciba-Geigy
16   Corp. USA, 317 F.3d 1097, 1106 (9th Cir. 2003) (citing Cooper v.
17   Pickett, 137 F.3d 616, 627 (9th Cir. 1997)).        Allegations of
18   fraud based on information and belief generally do not satisfy
19   the particularity requirements of Rule 9(b); however, this rule
20   is relaxed where plaintiffs do not have knowledge of the
21   underlying facts and the matter is within the opposing party’s
22   knowledge.   Neubronner v. Milken, 6 F.3d 666, 672 (9th Cir.
23   1993).   “The purpose of [Rule 9(b)] is to ensure that defendants
24   accused of the conduct specified have adequate notice of what
25   they are alleged to have done, so that they may defend against
26   the accusations.”   Concha v. London, 62 F.3d 1493, 1502 (9th Cir.
27   1995).   “Without such specificity, defendants in these cases
28   would be put to an unfair advantage, since at the early stages of

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 1   the proceedings they could do no more than generally deny any
 2   wrongdoing.”    Id. (citing Semegen v. Weidner, 780 F.2d 727, 731
 3   (9th Cir. 1985).    “While a federal court will examine state law
 4   to determine whether the elements of fraud have been pled
 5   sufficiently to state a cause of action, the Rule 9(b)
 6   requirement that the circumstances of the fraud must be stated
 7   with particularity is a federally imposed rule.”        Vess, 317 F.3d
 8   at 1103.   (emphasis in original.)
 9        Since plaintiffs’ Seventh and Twelfth Claims for Relief are
10   grounded in fraud, plaintiffs’ allegations must satisfy Rule
11   9(b)’s heightened pleading requirement.
12              1.     Fraud by Concealment
13        “Concealment is a species of fraud or deceit.”         Blickman
14   Turkus, LP v. MF Downtown Sunnyvale, LLC, 162 Cal. App. 4th 858,
15   868 (2008).     The following elements must be proven to establish a
16   fraud by concealment claim: 1) the defendant concealed or
17   suppressed a material fact, 2) the defendant was under a duty to
18   disclose the fact to the plaintiff, 3) the defendant
19   intentionally concealed or suppressed the fact with the intent to
20   defraud the plaintiff, 4) the plaintiff was unaware of the fact
21   and would not have acted as he did had he known of the concealed
22   or suppressed fact, and 5) the plaintiff sustained damages as a
23   result of the concealment or suppression of the fact.         Lovejoy v.
24   AT&T Corp., 92 Cal. App. 4th 85, 96 (2001).
25        Defendants seek to dismiss plaintiffs’ fraud by concealment
26   claim for relief on the basis that defendants were lenders and
27   thus did not owe plaintiffs a fiduciary duty.        However,
28   plaintiffs’ allegations must be accepted as true, and plaintiffs

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 1   allege that defendants held themselves out as mortgage brokers,
 2   such that defendants owed plaintiffs a fiduciary duty to act with
 3   the utmost good faith and not retain secret profits arising out
 4   of the agency relationship.     Due to this alleged fiduciary duty,
 5   defendants were required to disclose that they obtained a “secret
 6   profit” arising from plaintiffs’ higher interest rates.         Further,
 7   in claiming that defendants fraudulently transferred plaintiffs’
 8   loans to Indymac in order to obtain a secret profit, that the
 9   existence of the “secret profit” detrimentally affected
10   plaintiffs’ loan terms, and that plaintiffs would not have
11   executed the loans had they known about the “secret profit,”
12   plaintiffs’ have adequately pled facts to satisfy the elements of
13   fraud by concealment and put defendants on notice of their claim.
14   Therefore, plaintiffs’ Seventh Claim for Relief is sufficient to
15   withstand a motion to dismiss.
16             2.    Fraud and Deceit
17        “[I]n an action for fraud and deceit a cause of action is
18   stated when the facts constituting the fraud are alleged and a
19   resulting injury is pleaded.”     Hartzell v. Myall, 115 Cal. App.
20   2d 670, 680 (1953).    Under California law, ‘the indispensable
21   elements of a fraud claim include a false representation,
22   knowledge of its falsity, intent to defraud, justifiable
23   reliance, and damages.’”    Vess, 317 F.3d at 1105 (quoting
24   Hackethal v. Nat’l Cas. Co., 189 Cal. App. 3d 1102, 1111 (1987)).
25        Plaintiffs’ Twelfth Claim for Relief is not alleged with
26   sufficient particularity to satisfy the heightened pleading
27   requirement of Rule 9(b).     Plaintiffs merely allege that
28   defendants willfully deceived and caused harm to plaintiffs for

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 1   defendants’ own financial gain.      Although plaintiffs incorporate
 2   all preceding paragraphs of their complaint, plaintiffs do not
 3   identify the specific conduct that gave rise to their fraud
 4   claim.    In essence, plaintiffs failed to allege the “who, what,
 5   when, where, and how” of the alleged misconduct giving rise to
 6   their fraud and deceit claim for relief.       The purpose of the
 7   heightened pleading requirement of Rule 9(b) is to put defendants
 8   on adequate notice of what they are alleged to have done.
 9   However, plaintiffs allegations do not put defendants on notice
10   of the specific conduct at issue.       Therefore, plaintiffs’ Twelfth
11   Claim for Relief is not sufficient to withstand a motion to
12   dismiss.
13        Accordingly, defendants’ motion to dismiss plaintiffs’
14   Seventh Claim for Relief is DENIED, and defendants’ motion to
15   dismiss plaintiffs’ Twelfth Claim for Relief is GRANTED with
16   leave to amend.
17        E.     Tenth Claim for Relief
18        In their Tenth Claim for Relief, plaintiffs allege that
19   defendants engaged in unfair business practices by: 1) violating
20   TILA and RESPA and breaching alleged fiduciary duties; 2)
21   inducing plaintiffs to execute loans that were unfair to
22   plaintiffs; and 3) intentionally understating the finance charges
23   plaintiffs were compelled to pay on their loans.        Defendants
24   contend that plaintiffs’ unfair business practices claim should
25   be dismissed because plaintiffs do not have standing to assert
26   the claim, and have not sufficiently alleged that defendants
27
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 1   engaged in an unfair business practice.8
 2        California Business and Professions Code § 17200 provides,
 3   in relevant part, “[U]fair competition shall mean and include any
 4   unlawful, unfair or fraudulent business act or practice and
 5   unfair, deceptive, untrue or misleading advertising.” “‘Because .
 6   . . section 17200 is written in the disjunctive, it establishes
 7   three varieties of unfair competition - acts or practices which
 8   are unlawful, or unfair, or fraudulent.’ . . . ‘A practice is
 9   prohibited as ‘unfair’ or ‘deceptive’ even if not ‘unlawful’ or
10   vice versa.’”   Lippitt v. Raymond James Fin. Servs., Inc., 340
11   F.3d 1033, 1043 (9th Cir. 2003)      (quoting Cel-Tech, 20 Cal. 4th
12   at 180). Section 17200 “‘borrows’ violations of other laws and
13   treats” them as unlawful business practices “independently
14   actionable under section 17200.”        Farmers Ins. Exch. v. Superior
15   Court, 2 Cal. 4th 377, 383 (1992).        Violation of almost any
16   federal, state, or local law may serve as the basis for a[n]
17   [unfair competition] claim.”     Plascencia v. Lending 1st Mortg.,
18   583 F. Supp. 2d 1090, 1098 (9th Cir. 2008) (citing Saunders v.
19   Superior Court, 27 Cal. App. 4th 832, 838-39 (1994)).         “‘Unfair
20   simply means any practice whose harm to the victim outweighs its
21   benefits.   Fraudulent . . . requires a showing [that] members of
22   the public are likely to be deceived.’”       Lippitt, 340 F.3d at
23
24        8
               Defendants also seek to dismiss plaintiffs’ unfair
     business practices claim on the basis that the court lacks
25   subject matter jurisdiction to hear the claim. Defendants
     contend that plaintiffs’ federal claims (specifically, TILA and
26   RESPA) are time barred, and thus the court should not grant
     supplemental jurisdiction to plaintiffs’ unfair business
27   practices state-law claim. As set forth above, however,
     plaintiffs’ RESPA claim is not time barred, and thus the court
28   has supplemental jurisdiction over plaintiffs’ state-law claims.

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 1   1043 (quoting Saunders, 27 Cal. App. 4th at 839).        A complaint
 2   based on an unfair business practice may be predicated on a
 3   single act; the statute does not require a pattern of unlawful
 4   conduct.   United Farm Workers of Am., AFL-CIO v. Dutra Farms, 83
 5   Cal. App. 4th 1146, 1163 (2000).
 6        Standing is a prerequisite for a private plaintiff to bring
 7   suit under Section 17200, and is satisfied if the plaintiff
 8   suffered an actual injury depriving him of money or property.
 9   Californians for Disability Rights v. Mervyn’s, LLC, 39 Cal. 4th
10   223, 233 (2006); see Cal. Bus. & Prof. Code § 17204 (actions for
11   relief pursuant to the Unfair Business Practices Act may be
12   brought by “a person who has suffered injury in fact and has lost
13   money or property as a result of the unfair competition.”)
14        Plaintiffs’ unfair business practices claim can be
15   predicated upon defendants’ RESPA violation.        Since § 17200
16   “‘borrows’ violations of other laws and treats” them as unlawful
17   business practices “independently actionable under section
18   17200,” Farmers, 2 Cal. 4th at 383, defendants’ alleged RESPA
19   violation can serve as a foundation for plaintiffs’ Bus. & Prof.
20   Code § 17200 claim for relief.     See also Monaco v. Bear Stearns
21   Residential Mortg. Corp., 554 F. Supp. 2d 1034 (C.D. Cal. 2008)
22   (holding that plaintiff borrowers’ unlawful business practices
23   claim based upon lender’s alleged TILA violation was sufficient
24   to survive a motion to dismiss despite the court’s ruling that
25   plaintiffs’ TILA cause of action was time barred).
26        Further, plaintiffs have standing to bring their Section
27   17200 claim for relief because plaintiffs suffered an injury in
28   fact that deprived plaintiffs of money.       Accepting plaintiffs’

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 1   allegations as true and reading the complaint liberally and as a
 2   whole, defendants fraudulently transferred plaintiffs’ loans to
 3   Indymac.   Due to defendants’ actions, plaintiffs were allegedly
 4   compelled to pay a higher interest rate on their loans, and were
 5   thus deprived of money.    In light of the court’s conclusion that
 6   plaintiffs’ have sufficiently asserted their RESPA claim and that
 7   plaintiffs’ have suffered financial injury, plaintiffs’ § 17200
 8   claim is sufficient to withstand a motion to dismiss.
 9        Accordingly, defendants’ motion to dismiss plaintiffs’ Tenth
10   Claim for Relief is DENIED.
11        F.    Eleventh Claim for Relief
12        Plaintiffs’ Eleventh Claim for Relief alleges breach of
13   contract against defendants based on the allegation that
14   defendants charged plaintiffs a higher finance charge than the
15   figure disclosed in the Truth in Lending Disclosure (“TILD”).
16   Further, plaintiffs allege that the loan agreements were
17   unconscionable, such that the provisions of the agreements should
18   not be enforced.    Defendants seek to dismiss plaintiffs’ breach
19   of contract claim for relief on the basis that plaintiffs do not
20   sufficiently allege that defendants breached the terms of the
21   loan agreements.9
22        “Under California law, the elements of a breach of contract
23   claim are: (1) the existence of a contract; (2) plaintiff’s
24   performance or excuse for nonperformance; (3) defendant’s breach;
25   and (4) resulting damage to plaintiff.”       EPIS, Inc. v. Fidelity &
26
27        9
               Since defendants limit their motion to the breach of
     contract claim, the court does not address the sufficiency of
28   plaintiffs’ claim regarding unconscionability.

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 1   Guaranty Life Ins. Co., 156 F. Supp. 2d 1116, 1124 (N.D. Cal.
 2   2001) (citing Reichert v. General Ins. Co., 68 Cal. 2d 822, 830
 3   (1968)).
 4           Plaintiffs have sufficiently alleged that defendants
 5   breached the terms of the loan agreements.       Plaintiffs allege
 6   that they entered into the loan agreements with defendants and
 7   faithfully performed according to the terms of the agreements.
 8   Further, plaintiffs allege that defendants breached the loan
 9   agreements by charging a higher finance fee than that disclosed
10   in the TILD, and that plaintiffs suffered damages because they
11   were forced to pay a higher finance fee than they originally
12   contracted for.    Viewing the complaint liberally and giving
13   plaintiffs the benefit of every reasonable inference, plaintiffs
14   have sufficiently alleged that defendants breached the loan
15   agreements executed between the parties, and as such plaintiffs’
16   breach of contract claim is sufficient to survive a motion to
17   dismiss.
18           Accordingly, defendants’ motion to dismiss plaintiffs’
19   Eleventh Claim for Relief is DENIED.
20           G.   Thirteenth Claim for Relief
21           In their Thirteenth Claim for Relief, plaintiffs allege that
22   defendants made false and misleading statements to plaintiffs
23   that were intended to induce plaintiffs to enter into the loan
24   agreements in violation of Cal. Bus. & Prof. Code § 17500.
25   Defendants seek to dismiss plaintiffs’ claim on the basis that
26   defendants did not make false or misleading statements to
27   plaintiffs.
28   /////

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 1           California Business and Professions Code § 17500 provides
 2   that it is unlawful for any company or employee thereof to make
 3   or disseminate any statement concerning real or personal property
 4   or professional services, which is known, or which by the
 5   exercise of reasonable care should be known, to be untrue or
 6   misleading.
 7           “To state a cause of action under consumer protection
 8   statutes designed to protect the public from misleading or
 9   deceptive advertising, the plaintiff must demonstrate that
10   ‘members of the public are likely to be deceived.’”         Wayne v.
11   Staples, Inc., 135 Cal. App. 4th 466, 484 (2006) (citations
12   omitted).    “A claim for false or misleading advertising and
13   unfair business practices ‘must be evaluated from the vantage of
14   a reasonable consumer.’”    Cairns v. Franklin Mint Co., 24 F.
15   Supp. 2d 1013, 1037 (C.D. Cal. 1998) (citation omitted).
16   “California false advertising statutes encompass not just false
17   statements but those statements ‘which may be accurate on some
18   level, but will nonetheless tend to mislead or deceive.’”
19   Arizona Cartridge Remanufacturers Ass’n, Inc. v. Lexmark Intern,
20   Inc., 421 F.3d 981, 985 (9th Cir. 2005) (quoting Day v. AT&T
21   Corp., 63 Cal. App. 4th 325, 332 (1998)).       “‘A perfectly true
22   statement couched in such a manner that it is likely to mislead
23   or deceive the consumer, such as by failure to disclose other
24   relevant information, is actionable under [Section 17500].’”             Id.
25   at 332-33.    “Whether consumers have been or will be misled is a
26   factual question that cannot be resolved on a motion to dismiss.
27   Cairns, 24 F. Supp. 2d at 1037.
28   /////

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 1           Here, plaintiffs assert that defendants’ explanation of the
 2   adjustable rate mortgage offered to plaintiffs was intentionally
 3   misleading, deceptive, and ambiguous.          Whether consumers have
 4   been or will be misled is a factual question that cannot be
 5   resolved on a motion to dismiss.           Therefore, plaintiffs’
 6   Thirteenth Claim for Relief is sufficient to withstand a motion
 7   to dismiss.
 8           Accordingly, defendants’ motion to dismiss plaintiffs’
 9   Thirteenth Claim for Relief is DENIED.
10   II.     Motion to Dismiss for Failure to Join a Necessary Party
11           Defendants move to dismiss pursuant to Rule 12(b)(7) in that
12   an indispensable party - Dan Brown Mortgage (“DBM”) - has not
13   been joined in accordance with Rule 19.          Plaintiffs allege that
14   defendants acted as their mortgage brokers in originating the
15   loans, and that defendants received an undisclosed YSP in the
16   form of an illegal kickback or fee from Indymac.           While
17   defendants contend that DBM received a YSP for originating the
18   loans and thus must be joined as an indispensable party, the
19   current matter is not concerned with the YSP received by DBM, but
20   rather the alleged YSP received by defendants.           If plaintiffs’
21   allegations concerned the YSP received by DBM, then it would be
22   necessary to join DBM as a party; however, since the YSP received
23   by DBM is not at issue, DBM does not have a legally protected
24   interest in the current suit and complete relief can indeed by
25   accorded without joining DBM.
26           Accordingly, defendants’ motion to dismiss plaintiffs’
27   claims pursuant to Rule 12(b)(7) is DENIED.
28   /////

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 1   III. Motion For A More Definite Statement
 2           Defendants move for a more definite statement on the basis
 3   that a number of plaintiffs’ allegations are “vague and
 4   ambiguous.”     Defendants’ motion is without merit.        Plaintiffs’
 5   complaint is not so vague and ambiguous that defendants cannot
 6   frame a responsive pleading.        Indeed, defendants’ thirty-page
 7   Motion is evidence that plaintiffs have pled their allegations
 8   with sufficient particularity to apprise defendants of the claims
 9   against them.      Accordingly defendants’ motion for a more definite
10   statement is DENIED.
11   IV.     Motion to Strike
12           Defendants move to strike numerous portions of plaintiffs’
13   complaint on the basis that plaintiffs’ allegations are generally
14   “immaterial.”      In light of the limited importance of pleadings in
15   federal practice, plaintiffs’ complaint is largely sufficient to
16   withstand defendants’ motion to strike.          A motion to strike
17   should not be granted unless it is absolutely clear that the
18   matter to be stricken could have no possible bearing on the
19   litigation.     Lilley, 936 F. Supp. at 713.        It is not absolutely
20   clear that plaintiffs’ “immaterial” allegations can have no
21   possible bearing on the litigation.           Accordingly, defendants’
22   motion to strike is DENIED.
23                                    CONCLUSION
24           For the foregoing reasons, defendants’ motion to dismiss
25   plaintiffs’ Fifth, Sixth, Seventh, Tenth, Eleventh, and
26   Thirteenth Claims for Relief is DENIED.          However, defendants’
27   motion to dismiss plaintiffs’ Second and Twelfth Claims for
28   /////

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 1   Relief is GRANTED with leave to amend.       Defendants’ motion for a
 2   more definite statement and motion to strike are DENIED.
 3        IT IS SO ORDERED.
 4   DATED: March 16, 2009
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                                FRANK C. DAMRELL, JR.
 7                              UNITED STATES DISTRICT JUDGE
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